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                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO


      In re:                                                       PROMESA
                                                                   Title III
      THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO RICO,                            No. 17 BK 3283-LTS

                          as representative of                     (Jointly Administered)

      THE COMMONWEALTH OF PUERTO RICO et al.,

                               Debtors. 1


                         ORDER GRANTING THE FIFTH URGENT CONSENSUAL MOTION
                        FOR EXTENSION OF DEADLINES AND ADJOURNMENT OF HEARING

                  Upon the Fifth Urgent Consensual Motion for Extension of Deadlines and
  Adjournment of Hearing (Docket Entry No. 20745 in Case No. 17-3283) 2 (the “Fifth Extension
  Motion”); 3 and the Court having found that the relief requested in the Fifth Extension Motion is
  in the best interests of the Oversight Board, Ricoh, and Ramhil; and the Court having found that
  the Oversight Board provided adequate and appropriate notice of the Fifth Extension Motion
  under the circumstances and that no other or further notice is required; and the Court having

  1
               The Debtors in these Title III Cases, along with each Debtor’s respective Title III case
               number and the last four (4) digits of each Debtor’s federal tax identification number, as
               applicable, are the (i) Commonwealth of Puerto Rico (the “Commonwealth”)
               (Bankruptcy Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii)
               Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-
               BK-3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways
               and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567-LTS) (Last
               Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
               Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-
               BK-3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric
               Power Authority (“PREPA”) (Bankruptcy Case No. 17-BK-4780-LTS) (Last Four Digits
               of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”)
               (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801)
               (Title III case numbers are listed as Bankruptcy Case numbers due to software
               limitations).
  2
               The Fifth Extension Motion was also filed at Docket Entry No. 1341 in Case No. 17-
               3566 and Docket Entry No. 308 in Case No. 19-5523.
  3
               Capitalized terms used but not otherwise defined herein have the meanings given to them
               in the Fifth Extension Motion.

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  reviewed the Fifth Extension Motion; and the Court having determined that the factual bases set
  forth in the Fifth Extension Motion establish just cause for the relief granted herein; and after due
  deliberation and sufficient cause appearing therefor, it is hereby ORDERED that:

         1.      The Fifth Extension Motion is granted as set forth herein.

         2.      Replies to the Ricoh Objection and Ramhil Objection, if any, must be filed by
                 June 22, 2022, at 4:00 p.m. (Atlantic Standard Time).

         3.      The Ricoh Objection and Ramhil Objection will be heard at the June 29, 2022,
                 omnibus hearing.

         4.      This Order resolves Docket Entry No. 20745 in Case No. 17-3283, Docket Entry
                 No. 1341 in Case No. 17-3566, and Docket Entry No. 308 in Case No. 19-5523.




         SO ORDERED.

  Dated: May 11, 2022
                                                                 /s/ Laura Taylor Swain
                                                                LAURA TAYLOR SWAIN
                                                                United States District Judge




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